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                                 T HE G RIFFITH F IRM
                                                       77 SANDS STREET
                                                BROOKLYN, NEW YORK 11201
                                                       (646) 645-3784


MOBILE: (646) 645-3784                                                                               TELECOPIER: (718) 228-3777
EMAIL: EG@THEGRIFFITHFIRM.COM                                                           URL: HTTP://WWW.THEGRIFFITHFIRM.COM


                                                                 April 21, 2025

VIA ECF

Hon. Louis L. Stanton
United States District Judge for
 the Southern District of New York
United States Courthouse
500 Pearl Street, Courtroom 21C
New York, New York 10007

           Re:         Paul Philippe of Romania, on behalf of the Estate of King Carol II of
                       Romania v. Christie’s, Inc., 1:25-cv-1151-LLS

Dear Judge Stanton:

        I represent Plaintiff/Interpleader Defendant Paul Philippe of Romania (“Paul Philippe”)
and this is my second follow-up status report on the parties’ efforts to negotiate terms under which
Third-Party Interpleader Defendant State of Romania (“Romania”) will accept service.

        As previously reported, Romania commenced a state court action against the other parties
and intends to move to dismiss this action for lack of subject matter jurisdiction. The other
Interpleader Defendants, Paul Philippe and Accent Delight International, Ltd. (“Accent Delight”),
believe this Court has subject matter jurisdiction and intend to oppose Romania’s motion. See
March 27, 2025 Status Report [ECF 36]; April 4, 2025 Status Report [ECF 37].

       The parties continue to negotiate, and they still expect to file a Stipulation and proposed
Order soon. That Stipulation and proposed Order will include a proposed briefing schedule for
Romania’s motion to dismiss, probably to begin on May 19, 2025.

           Thank you for considering this matter.
                                                                       Sincerely,


                                                                       Edward Griffith
EG:gb
cc:   Brian Aaron, Esq.
      Daniel J. Kornstein, Esq.
      Joseph A. Patella, Esq.
      Thaddeus J. Stauber, Esq.

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